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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                PANAMA CITY DIVISION

HICA EDUCATION LOAN                                )
CORPORATION,                                       )   No. 13-CV-00303
           Plaintiff,                              )
                                                   )
v.                                                 )   STIPULATED MOTION TO DISPENSE
                                                   )   WITH MEDIATION
MUSTAFA A. ABUHANIEH,                              )
            Defendant.                             )


         The parties respectfully request the Court dispense with the mediation requirement set

forth in Order Adopting Parties’ Proposed Discovery Schedule (DE 10) and in DE 11. In support

the parties state as follows:


                                Limited Settlement Options Under Federal Law

         The U.S. Department of Health and Human Services (DOH) established the HEAL

student loan program for students of medicine, dentistry, osteopathy, veterinary medicine,

optometry, and podiatry. 42 C.F.R. § 60.1 et seq. The program is managed by DOH in

cooperation with participating schools and lenders. The HEAL program insures loans made by

lenders through the federal government’s Student Loan Insurance Fund (“SILF”). The SILF,

through DOH, reimburses the holder of the loan for the full amount of the principal and accrued

interest in event of the borrower’s default, death, disability, or bankruptcy. 42 C.F.R. §§ 60.14 and

60.32.

         As a prerequisite to submitting an insurance claim through the HEAL program, plaintiff is

obligated under federal law to exercise “due diligence” to attempt to collect monies owed. 42

C.F.R. § 60.35. All lawful collection methods must be utilized, including litigation. If plaintiff

obtains a judgment either through stipulation or at trial, it would present the judgment to DOH as
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part of its insurance claim. 42 C.F.R. §§ 60.40(c)(1)(ii) and 60.41(1)(a). DOH would then take

over collection efforts. 42 C.F.R. § 60.20.

       Plaintiff cannot compromise the Notes, including adjusting the repayment terms or

amounts due. Doing so would violate plaintiff’s obligations under the above-cited regulations and

jeopardize its insurance coverage. Defendant’s settlement options are narrowly limited to: (1)

Fully satisfy the Notes; (2) Cure the default; (3) Stipulate to a judgment. Defendant understands

that these are the limited options available to resolve the case, and in the event Defendant elects to

resolve the case under these conditions it can be addressed between counsel without the need of

mediation."

                                           Memorandum of Law

       Matters impacting the efficient resolution of cases before this Court fall within the Court’s

inherent and discretionary authority. See Fed. R. Civ. P. 6(b). The parties request the court forego

requiring the parties to attend mediation. Proceeding to mediation with the limited settlement

options available would be an inefficient use of both parties’ resources. Dispensing with the

mediation requirement will promote “the just, speedy, and inexpensive determination” of this

matter. Fed. R. Civ. P. 1.


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